            Case 2:18-cv-02421-JFW-E Document 55 Filed 06/01/18 Page 1 of 3 Page ID #:622


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               10                          UNITED STATES DISTRICT COURT
               11             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
               12

               13      BROIDY CAPITAL                         CASE NO. 2:18-CV-02421-JFW-E
                       MANAGEMENT LLC, ELLIOTT
               14      BROIDY, and ROBIN
                       ROSENZWEIG,
               15                                             AMENDED DECLARATION OF
                                     Plaintiffs,              MEERA CHANDRAMOULI IN
               16                                             SUPPORT OF MOTION TO QUASH
                            v.                                SUBPOENA FOR PRODUCTION OF
               17                                             DOCUMENTS FROM JOSEPH
                       STATE OF QATAR,                        ALLAHAM
               18      STONINGTON STRATEGIES
                       LLC, NICHOLAS D. MUZIN, and
               19      DOES 1-10,                             Date: July 13, 2018
                                                              Time: 9:30 a.m.
              20                     Defendants.              Courtroom: 750
              21                                              Judge:         John F. Walter
                                                              Magistrate:    Charles F. Eick
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ARENT Fox LLP
ATTORNEYS AT LAW
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                   1   I, Meera Chandramouli, hereby amend my declaration in support of the motion to
                   2   quash Plaintiffs' subpoena for the production of documents from Joseph Allaham
                   3   by revising the content of paragraphs 7 and 8 in my declaration filed on June 1,
                   4   2018 (Docket Entry 53-2):
                   5      1. I am an attorney in good standing, licensed to practice before all of the courts
                   6   in the State of New York. I am an Associate at Arent Fox LLP. I have personal
                   7   knowledge of the facts contained herein, and if called and sworn as a witness
                   8   herein, I could and would testify competently thereto. I make this declaration in
                   9   support of Joseph Allaham's Motion to Quash Plaintiffs' Subpoena for Production
               10      of Documents from Joseph Allaham (the "Motion").
               11         2. In accordance with the Local Rules applicable to this Court, on Tuesday,
               12      May 29, 2018, I conferred with Plaintiffs' counsel, Lee S. Wolosky of Boies
               13      Schiller Flexner LLP, via teleconference regarding Mr. Allaham's response to
               14      Plaintiffs' subpoena for the production of documents from Joseph Allaham, who is
               15      a third party in this matter, dated April 23, 2018 (the "Subpoena").
               16         3. During the May 29 teleconference, I requested a reasonable extension of time
               17      to respond to the Subpoena in light of (i) an agreement between Plaintiffs' counsel
               18      and me to postpone Mr. Allaham's deposition from May 31, 2018 to June 22, 2018,
               19      due to Mr. Allaham's wife's expected due date to give birth; and (ii) Defendants'
               20      intention to file a motion to stay all discovery on June 4, 2018. Mr. Allaham's
               21      position is that this is the first request for an extension of time to respond to the
               22      Subpoena, as the effective date of service of the Subpoena was May 2, 2018.
               23         4. Plaintiffs' counsel stated that since Plaintiffs believe that service of the
              24       Subpoena was effectuated on April 24, 2018, Plaintiffs would not agree to an
               25      extension of time to respond to the Subpoena beyond June 1, 2018.
              26          5. I then informed Plaintiffs' counsel of Mr. Allaham's intention to file this
              27       Motion. Plaintiffs' counsel acknowledged this information and stated that Plaintiffs
              28       plan to oppose the Motion.
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                                               NOTICE OF MOTION AND MOTION TO QUASH
            Case 2:18-cv-02421-JFW-E Document 55 Filed 06/01/18 Page 3 of 3 Page ID #:624


                          6. On Friday, June 1, 2018, in accordance with the Local Rules applicable to
                   2   this Court, I sent a draft Joint Statement by email to Plaintiffs' counsel for review
                   3   and signature.
                   4      7. Plaintiffs' counsel responded by email on June 1, 2018 and agreed to file a
                   5   Statement pursuant to Local Rule 7.3. In the Statement, Plaintiffs' counsel objected
                   6   to filing the Motion in this Court, and further stated that "Plaintiffs' counsel does
                   7   not consent to filing a 'Joint Statement' pursuant to Local Rule 7.3 relating to a
                   8   motion that is not filed in compliance with the Federal Rules."
                   9      I declare under penalty of perjury under the laws of the State of New York and
               10      of the United States that the foregoing is true and correct and that this declaration
               11      was executed on this 1st day of June in New York, New York.
               12

               13                                                 ARENT FOX LLP
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               15                                                 By:                  ev71-44-Gote-044A,Pt--C_
                                                                        Meera Chandramouli
               16                                                       Attorney for Joseph Allaham
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